                     United States Bankruptcy Court
                    Northern District of California


In re:
                                                                              Case
                                                         No. 15-31519
                                                         Chapter 11

JINNIE JINHUEI CHANG CHAO

                    COMBINED PLAN OF REORGANIZATION

                        AND DISCLOSURE STATEMENT
                            (April 23, 2024)

INTRODUCTION

     This is Debtor’s Combined Chapter 11 Plan of Reorganization
and Disclosure Statement (the Plan). The Plan identifies each
known creditor by name and describes how each claim will be
treated if the Plan is confirmed.

     Part 1 contains the treatment of creditors with secured
claims; Part 2 contains the treatment of general unsecured
creditors: 100% of their allowed claims in semiannual payments
over 5 years. Taxes and other priority claims would be paid in
full, as shown in Part 3.

     Most creditors (those in impaired classes) are entitled to
vote on confirmation of the Plan. Completed ballots must be
received by Debtor’s counsel, and objections to confirmation must
be filed and served, no later than [date]. The court will hold a
hearing on confirmation of the Plan on [date] at [time].


     Attached to the Plan are exhibits containing financial
information that may help you decide how to vote and whether to
object to confirmation. Exhibit 1 includes background
information regarding Debtor and the events that led to the
filing of the bankruptcy petition and describes significant
events that have occurred during this Chapter 11 case. Exhibit 2
contains an analysis of how much creditors would likely receive
in a Chapter 7 liquidation. Exhibit 3 shows Debtor’s monthly
income and expenses. Exhibit 4 describes how much Debtor is
required to pay on the effective date of the plan. Exhibit 5


Individual Chapter 11
Combined Plan & Disclosure Statement                                (Version: 7/30/12)
                                       -1-
Case:30,
July  15-31519
         2012    Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18   Page 1 of
                                        22
shows Debtor’s monthly income and expenses related to each
investment property.

     Whether the Plan is confirmed is subject to complex legal
rules that cannot be fully described here. You are strongly
encouraged to read the Plan carefully and to consult an attorney
to help you determine how to vote and whether to object to
confirmation of the Plan.

     If the Plan is confirmed, the payments promised in the Plan
constitute new contractual obligations that replace the Debtor’s
pre-confirmation debts. Creditors may not seize their collateral
or enforce their pre-confirmation debts so long as Debtor
performs all obligations under the Plan. If Debtor defaults in
performing Plan obligations, any creditor can file a motion to
have the case dismissed or converted to a Chapter 7 liquidation,
or enforce their non-bankruptcy rights. Debtor will be
discharged from all pre-confirmation debts (with certain
exceptions) if Debtor makes all Plan payments. Enforcement of
the Plan, discharge of the Debtor, and creditors’ remedies if
Debtor defaults are described in detail in Parts 5 and 6 of the
Plan.

PART 1: TREATMENT OF SECURED CREDITORS

Creditors’ Rights Remain Unchanged.
  Class   Name of Creditor                    Description of Collateral
  1A      Select Portfolio Servicing,         8108 Penobscot Lane, McKinney Tx
          Inc. Former U.S Bank, National
          Association
  1B      Flagstar Bank, FSB                  701 Braxton Ct, McKinney Tx
  1C      Flagstar Bank, FSB                  305 St. Andrews Dr, Pinehurst, NC
  1D      Flagstar Bank, FSB                  9 Maverick Place, Pinehurst, NC


     These creditors’ legal, equitable, and contractual rights
remain unchanged with respect to the above collateral. The
confirmation order will constitute an order for relief from stay.
Creditors in these classes shall retain their interest in the
collateral until paid in full. These secured claims are not
impaired and are not entitled to vote on confirmation of the
Plan.

Debtor to Adjust Terms and Pay Amount Due in Full Over Time.



Individual Chapter 11
Combined Plan & Disclosure Statement                                (Version: 7/30/12)
                                       -2-
Case:30,
July  15-31519
         2012    Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18   Page 2 of
                                        22
 Class   Name of           Description of        Amount Due      Interes     Monthly          Term
         Creditor          Collateral                            t Rate      Payment
 1E      Planet Home       30 Pilarcitos         1,819,000.00    4.75%       $10,232.43       30 yrs
         Lending, LLC.     Ct Hillsboroug,
         Former            CA 94010
         PennyMac Loan
         Services

      As per Stipulation between parties regarding Treatment of Claim under
Debtor’s proposed Plan (Dkt 129 and 130)

     Debtor will pay the entire amount contractually due with
interest based on the terms of the stipulation agreement re
treatment of claim with PennyMac Loan Services, LLC see attached
as Appendix A. Creditors in these classes shall retain their
interest in the collateral until Debtor makes all payments on the
allowed secured claim specified in the Plan.

     Creditors in these classes may not repossess or dispose of
their collateral so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). These secured claims are
impaired and are entitled to vote on confirmation of the Plan.

     Payments to claimants in these classes may continue past the
date Debtor obtains a discharge. The claimants’ rights against
its collateral shall not be affected by the entry of discharge,
but shall continue to be governed by the terms of this Plan.


PART 2: TREATMENT OF GENERAL UNSECURED CREDITORS

Class 2(a) Small Claims.
  Name of Creditor              Amount of        Disputed       Amount to      Amount to
                                Claim              Y/N          be Paid        Pay on
                                                                               Effective
                                                                               Date
  Lawrence D. Miller                 $962.20         No            $962.20           $962.20
  Menlo Dermatology                    $97.74        No             $97.74             $97.74
  Medical Group
  Mills-Pennisula Emerg              $589.00         No            $589.00           $589.00
  Med, Inc.
  Online Collections                   $83.00        No             $83.00             $83.00
  Saad A Shakir MD Inc.              $193.41         No            $193.41           $193.41


Creditors will receive 100% percent of their allowed claim in a 5

Individual Chapter 11
Combined Plan & Disclosure Statement                                        (Version: 7/30/12)
                                          -3-
Case:30,
July  15-31519
         2012       Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18       Page 3 of
                                           22
year period with semi-annual installments, due on the 1st day of
the month, starting on the plan effective date.

Creditors in this class may not take any collection action
against Debtor so long as Debtor is not in material default under
the Plan (defined in Part 6(c)). Claimants in this class are
impaired and are entitled to vote on confirmation of the Plan,
unless their claims are paid in full with interest on the
Effective Date of the Plan.

Class 2(b) General Unsecured Claims.
  Name of Creditor             Amount of        Disputed   Amount to      Semi
                               Claim              Y/N      be Paid        Annually

  American Express                $6,305.37        No        $6,305.37          $630.48
  Bank of America                $10,095.00        No       $10,095.00        $1,009.50
  Bruce C. Janke                 $13,135.66        No       $13,135.66        $1,313.52
  Chase Card Services            $10,595.00        No       $10,595.00        $1,059.48
  Chase Card Services             $8,515.00        No        $8,515.00          $851.46
  Chase Card Services             $6,914.00        No        $6,914.00          $699.68
  Penninsula Hospital and         $4,010.07        No        $4,010.07          $400.98
  MI


     Allowed claims of general unsecured creditors not treated as
small claims including allowed claims of creditors whose
executory contracts or unexpired leases are being rejected under
this Plan shall be paid as follows:

Percent Plan. Creditors will receive 100% percent of their
allowed claim in a 5 year period with semi-annual installments,
due on the 1st day of the month, starting on the plan effective
date.

     Creditors in this class may not take any collection action
against Debtor so long as Debtor is not in material default under
the Plan (defined in Part 6(c)). This class is impaired and is
entitled to vote on confirmation of the Plan. Debtor has
indicated above whether a particular claim is disputed.

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Individual Chapter 11
Combined Plan & Disclosure Statement                                   (Version: 7/30/12)
                                         -4-
Case:30,
July  15-31519
         2012      Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18   Page 4 of
                                          22
Class 2(c) Disputed General Unsecured Claim.

  Name of Creditor             Amount of        Disputed     Amount to
                               Claim              Y/N        be Paid

  Ardeshir Salem               $1,156,805.38       Yes         Disputed


The claim of Ardeshir Salem and A. Salem, D.D.S., Inc.
(collectively, the Salem Parties) is disputed and will be
resolved as follows: The Salem Parties have filed a Proof of
Claim as Claim 9-4 for $1,156,805.38. Debtor disputes the
validity of the claim and will, no later than the effective date
of this Plan, object to Claim 9-4, and any amendments to that
claim thereto. Confirmation of the Plan shall not have any res
judicata effect as to the amount or validity of Claim 9-4.

Debtor will not make any payments to the disputed claim reserve
for Claim 9-4 as provided for in section 7(b). In the event the
claim is allowed in any amount; Debtor shall pay the allowed
amount of the claim in full within 180 days of a final, non-
appealable order allowing the claim. Debtor shall, if necessary,
sell three of her out of State properties. Below is a Table of
the properties with the current values and balance of Liens on
the property:

     Jinnie Chang Chao
     Property Summary as of August 22, 2023

                                     Outstanding
                         Current                     Cost of                     Estimated
Property Address                      Mortgage                     Sale Tax
                          Value                       Sale                      Net Proceds
                                       Balance

 9 Maverick Place
Pinehurst, NC 28374
                         $390,000        $81,000         $23,400    $39,000         $246,600   *

305 St Andrews Dr.,
                         $460,000        $90,000         $27,600    $46,000         $296,400
Pinehurst, NC 28374

 701 Braxton Court
 McKinney, TX 75071
                         $800,000       $206,000         $48,000    $80,000         $466,000   *

8108 Penobscot Lane
McKinney, TX 75071
                        $1,150,000      $352,000         $69,000   $115,000         $614,000   *
30 Pilarcitos Court
 Hillsborough, CA       $5,150,000    $1,819,000     $309,000      $515,000       $2,507,000
       94010




Individual Chapter 11
Combined Plan & Disclosure Statement                                      (Version: 7/30/12)
                                         -5-
Case:30,
July  15-31519
         2012      Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18      Page 5 of
                                          22
* Properties to be sold if needed.

PART 3: TREATMENT OF PRIORITY AND ADMINISTRATIVE CLAIMS
(a) Professional Fees.

     Debtor will pay the following professional fees in
installment payments as stipulation between debtor and attorney
on March 06, 2024 as Docket number 400.

          Name and Role of Professional                              Amount
  Anyama Law Firm-General Bankruptcy Counsel                 $35,0000.00



     Professionals may not take collection action against Debtor
so long as Debtor is not in material default under the Plan
(defined in Part 6(c)). Estate professionals are not entitled to
vote on confirmation of the Plan.

(b) Other Administrative Claims. Debtor will pay other allowed
claims entitled to priority under section 503(b) in full on the
Effective Date; except expenses incurred in the ordinary course
of Debtor’s business or financial affairs, which shall be paid
when normally due and payable (these creditors are not listed
below). All fees payable to the United States Trustee as of
confirmation will be paid on the Effective Date; post-
confirmation fees to the United States Trustee will be paid when
due.

     Administrative Creditors may not take any collection action
against Debtor so long as Debtor is not in material default under
the Plan (defined in Part 6(c)). Administrative claimants are
not entitled to vote on confirmation of the Plan.

  Name of Administrative                      Estimated Amount of Claim
  Creditor
  United States Trustee                       $250.00

(c) Tax Claims. Debtor will pay allowed claims entitled to
priority under section 507(a)(8) in full over time with interest
(at the non-bankruptcy statutory interest rate) in equal
amortizing payments in accordance with section 511 of the
Bankruptcy Code. Payments will be made [monthly/quarterly], due
on the [number] day of the [month/quarter], starting [month &


Individual Chapter 11
Combined Plan & Disclosure Statement                                 (Version: 7/30/12)
                                       -6-
Case:30,
July  15-31519
         2012    Doc# 407   Filed: 04/23/24    Entered: 04/23/24 14:22:18   Page 6 of
                                        22
year]. To the extent amounts owed are determined to be other
than as shown below, appropriate adjustments will be made in the
number of payments.

     Priority tax creditors may not take any collection action
against Debtor so long as Debtor is not in material default under
the Plan (defined in Part 6(c)). Priority tax claimants are not
entitled to vote on confirmation of the Plan.

  Name of Creditor               Estimated        Statutory       Payment       Number of
                                 Amount of        Interest        Amount        Payments
                                 Claim            Rate
             N/A



PART 4:   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
(a) Executory Contracts/Unexpired Leases Assumed. Debtor assumes
the following executory contracts and/or unexpired leases upon
confirmation of this Plan and will perform all pre-confirmation
and post-confirmation obligations thereunder. Post-confirmation
obligations will be paid as they come due. Pre-confirmation
arrears will be paid in full on the Effective Date.

   Person whom you         Description of         Lease is for:      Terms of        Installment
       have a              Contract/Lease                            Contract/         Amount
   contract/lease                                                      Lease
        with




(b) Executory Contracts/Unexpired Leases Rejected. Debtor
rejects the following executory contracts and/or unexpired leases
and surrenders any interest in the affected property and allows
the affected creditor to obtain possession and dispose of its
property, without further order of the court. Claims arising
from rejection of executory contracts have been included in Class
2 (general unsecured claims).


  Name of Counter-Party                           Description of Contract/Lease
                     N/A




Individual Chapter 11
Combined Plan & Disclosure Statement                                     (Version: 7/30/12)
                                           -7-
Case:30,
July  15-31519
         2012      Doc# 407     Filed: 04/23/24    Entered: 04/23/24 14:22:18   Page 7 of
                                            22
(c) Executory contracts and unexpired leases not specifically
assumed or rejected above will be deemed assumed.


PART 5: DISCHARGE AND OTHER EFFECTS OF CONFIRMATION
(a) Discharge. Debtor shall not receive a discharge of debts
until Debtor makes all payments due under the Plan or the court
grants a hardship discharge.

(b) Vesting of Property. On the Effective Date, all property of
the estate and interests of the Debtor will vest in the
reorganized Debtor pursuant to § 1141(b) of the Bankruptcy Code
free and clear of all claims and interests except as provided in
this Plan, subject to revesting upon conversion to Chapter 7 as
provided in Part 6(f) below.

(c) Plan Creates New Obligations. Except as provided in
Part 6(d) and (e), the obligations to creditors that Debtor
undertakes in the confirmed Plan replace those obligations to
creditors that existed prior to the Effective Date of the Plan.
Debtor’s obligations under the confirmed Plan constitute binding
contractual promises that, if not satisfied through performance
of the Plan, create a basis for an action for breach of contract
under California law. To the extent a creditor retains a lien
under the Plan, that creditor retains all rights provided by such
lien under applicable non-Bankruptcy law.

PART 6: REMEDIES IF DEBTOR DEFAULTS IN PERFORMING THE PLAN
(a) Creditor Action Restrained. The confirmed Plan is binding
on every creditor whose claims are provided for in the Plan.
Therefore, even though the automatic stay terminates on the
Effective Date with respect to secured claims, no creditor may
take any action to enforce either the pre-confirmation obligation
or the obligation due under the Plan, so long as Debtor is not in
material default under the Plan, except as provided in Part 6(e)
below.

(b) Obligations to Each Class Separate. Debtor’s obligations
under the Plan are separate with respect to each class of
creditors. Default in performance of an obligation due to
members of one class shall not by itself constitute a default
with respect to members of other classes. For purposes of this
Part 6, the holders of all administrative claims shall be
considered to be a single class, the holders of all priority
claims shall be considered to be a single class, and each non-


Individual Chapter 11
Combined Plan & Disclosure Statement                                (Version: 7/30/12)
                                       -8-
Case:30,
July  15-31519
         2012    Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18   Page 8 of
                                        22
debtor party to an assumed executory contract or lease shall be
considered to be a separate class.

(c) Material Default Defined. If Debtor fails to make any
payment, or to perform any other obligation required under the
Plan, for more than 10 days after the time specified in the Plan
for such payment or other performance, any member of a class
affected by the default may serve upon Debtor and Debtor’s
attorney (if any) a written notice of Debtor’s default. If
Debtor fails within 30 days after the date of service of the
notice of default either: (i) to cure the default; (ii) to obtain
from the court an extension of time to cure the default; or (iii)
to obtain from the court a determination that no default
occurred, then Debtor is in Material Default under the Plan to
all the members of the affected class.

(d) Remedies Upon Material Default. Upon Material Default, any
member of a class affected by the default: (i) may file and serve
a motion to dismiss the case or to convert the case to Chapter 7;
or (ii) without further order of the court has relief from stay
to the extent necessary, and may pursue its lawful remedies to
enforce and collect Debtor’s pre-confirmation obligations.

(e) Claims not Affected by Plan. Upon confirmation of the Plan,
and subject to Part 5(c), any creditor whose claims are left
unimpaired under the Plan may, notwithstanding paragraphs (a),
(b), (c), and (d) above, immediately exercise all of its
contractual, legal, and equitable rights, except rights based on
default of the type that need not be cured under section
1124(2)(A) and (D).

(f) Effect of Conversion to Chapter 7. If the case is at any
time converted to one under Chapter 7, property of the Debtor
shall vest in the Chapter 7 bankruptcy estate to the same extent
provided for in section 348(f) of the Bankruptcy Code upon the
conversion of a case from Chapter 13 to Chapter 7.

(g) Retention of Jurisdiction. The bankruptcy court may
exercise jurisdiction over proceedings concerning: (i) whether
Debtor is in Material Default of any Plan obligation; (ii)
whether the time for performing any Plan obligation should be
extended; (iii) adversary proceedings and contested matters
pending as of the Effective Date or specifically contemplated in
this Plan to be filed in this court (see Part 7(f)); (iv) whether
the case should be dismissed or converted to one under Chapter 7;
(v) any objections to claims; (vi) compromises of controversies


Individual Chapter 11
Combined Plan & Disclosure Statement                                (Version: 7/30/12)
                                       -9-
Case:30,
July  15-31519
         2012    Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18   Page 9 of
                                        22
under Fed. R. Bankr. Pro. 9019; (vii) compensation of
professionals; and (viii) other questions regarding the
interpretation and enforcement of the Plan.

PART 7: GENERAL PROVISIONS
(a) Effective Date of Plan. The Effective Date of the Plan is
The fifteenth day following the date of the entry of the order of
confirmation, if no notice of appeal from that order has been
filed. If a notice of appeal has been filed, Debtor may waive
the finality requirement and put the Plan into effect, unless the
order confirming the Plan has been stayed. If a stay of the
confirmation order has been issued, the Effective Date will be
the first day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation
order has not been vacated.

(b) Disputed Claim Reserve. Except as indicated in Section 2,
Debtor will create a reserve for disputed claims. Each time
Debtor makes a distribution to the holders of allowed claims,
Debtor will place into a reserve the amount that would have been
distributed to the holders of disputed claims if such claims had
been allowed in the full amount claimed. If a disputed claim
becomes an allowed claim, Debtor shall immediately distribute to
the claimant from the reserve an amount equal to all
distributions due to date under the plan calculated using the
amount of the allowed claim. Any funds no longer needed in
reserve shall be returned to Debtor.

(c) Cramdown. Pursuant to section 1129(b) of the Bankruptcy
Code, Debtor reserves the right to seek confirmation of the Plan
despite the rejection of the Plan by one or more classes of
creditors.

(d) Severability. If any provision in the Plan is determined to
be unenforceable, the determination will in no way limit or
affect the enforceability and operative effect of any other
provision of the Plan.

(e) Governing Law. Except to the extent a federal rule of
decision or procedure applies, the laws of the State of
California govern the Plan.

(f)   Lawsuits.

     Debtor believes that causes of action for fraudulent
transfers, voidable preferences, or other claims for relief exist


Individual Chapter 11
Combined Plan & Disclosure Statement                               (Version: 7/30/12)
                                       -10-
Case: 15-31519
July 30,  2012   Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 10 of
                                         22
as follows:

     Claims against the Debtor are brought by the Salem Parties
in the consolidated proceedings pending in Santa Clara Superior
Court as cases no. 1-12-CV-217465 and 1-15-275589 (the “State
Court Actions”). Confirmation of the Plan shall constitute a
permanent injunction against further prosecution of the
affirmative claims of the Salem Parties against Debtor in the
State Court Actions.

     A pending adversary complaint before this Court, Case No.
16-03023, brought by the Salem Parties as to Plaintiff, seeks to
determine the discharagability of the debts raised in Claim 9-4.
Debtor intends to fully defend this proceeding as meritless.
Confirmation of the Plan will not have any res judicata effect as
to the determination of this adversary proceeding.

         Party        Creditor       Nature of       Amount of       Will Debtor
                         Y/N           Claim           Claim          Prosecute
                                                                       Action?
                                                                         Y/N
  None


(g) Notices. Any notice to the Debtor shall be in writing, and
will be deemed to have been given three days after the date sent
by first-class mail, postage prepaid and addressed as follows:

(h) Post-Confirmation United States Trustee Fees. Following
confirmation, Debtor shall continue to pay quarterly fees to the
United States Trustee to the extent, and in the amounts, required
by 28 U.S.C. § 1930(a)(6). So long as Debtor is required to make
these payments, Debtor shall file with the court quarterly
reports in the form specified by the United States Trustee for
that purpose.

(i) Deadline for § 1111(b) Election. Creditors with an allowed
secured claim can make a timely election under section 1111(b) no
later than 14 days before the first date set for the hearing on
confirmation of the Plan.



Dated: April 23, 2024




Individual Chapter 11
Combined Plan & Disclosure Statement                               (Version: 7/30/12)
                                       -11-
Case: 15-31519
July 30,  2012   Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 11 of
                                         22
Case: 15-31519   Doc# 407   Filed: 04/23/24   Entered: 04/23/24 14:22:18   Page 12 of
                                         22
Attorney Certification

     I, Onyinye N. Anyama, I am legal counsel for the Debtor(s)
in the above-captioned case and hereby certify the following: (i)
the foregoing plan is a true and correct copy of the Individual
Chapter 11 Combined Plan and Disclosure Statement promulgated by
the Northern District of California, San Francisco Division, on
July 30, 2012 (the “Standard-Form Plan”); and (ii) except as
specified below, there have been no alterations or modifications
to any provision of the Standard-Form Plan.

     The following provisions of the Standard-Form Plan have been
altered or otherwise modified.

Part 1 of Plan, Debtor remove the following paragraphs:
    Debtor to make Regular Payments and Pay Arrears Over Time.
    Debtor to Strip Lien to Value of Collateral and Pay Over
       Time.
    Debtor to Strip Off Lien.
    Debtor to Adjust Terms and Pay Amount Due in Full Over Time.
      Property to be Sold.

Page 2, Property to be Surrendered – Remove table and paragraph
related to Property to be surrendered.

Page 3, terms of Class 1E, Debtor incorporated the terms of the
stipulation and attached the stipulation as Appendix A.

Page 3, Treatment of General Unsecured Creditors-Debtor changed
terms from monthly installments to semiannual installments.

Page 4, Debtor incorporated Class 2(c)Disputed General Unsecured
Claims.

Page 5, Debtor incorporated a table showing the summary of real
property estimated values in support of proposed Plan treatment
for Class 2 (c) Creditor.

     I declare that the foregoing is true and correct.                   Executed
this 23rd day of April 2024.



Individual Chapter 11
Combined Plan & Disclosure Statement                               (Version: 7/30/12)
                                       -13-
Case: 15-31519
July 30,  2012   Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18    Page 13 of
                                         22
                                             /s/Onyinye N. Anyama
                                            Attorney for Debtor




Individual Chapter 11
Combined Plan & Disclosure Statement                               (Version: 7/30/12)
                                       -14-
Case: 15-31519
July 30,  2012   Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 14 of
                                         22
Exhibit 1 - Events That Led to Bankruptcy


      The event leading to bankruptcy was due to the economic

downturn in 2008 and the near collapse of the real estate industry.

Ms. Chao (real estate professional) experienced major decrease in

her income. She attempted to reorganize her debt by filing Chapter

13 cases in 2015 pro se. However the case was dismissed since Ms.

Chao represented herself and was unsophisticated in bankruptcy

matters. Ms. Chao employed the applicant to file her Chapter 11

bankruptcy to reorganize her debt.

      Virtually all of the Debtor’s assets are encumbered by holders

of prior secured claims. The principal assets of the estate are the

following properties currently owned by the debtor.

         •   8108 Penobscot Ln. McKinney TX,

         •   701 Braxton Ct. McKinney TX,

         •   30 Pilarcitos Ct Hillsborough CA

         •   305 St Andrews Dr. Pinehurst NC

         •   9 Maverick Pl. Pinehurst




Individual Chapter 11
Combined Plan & Disclosure Statement                               (Version: 7/30/12)
                                       -15-
Case: 15-31519
July 30,  2012   Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 15 of
                                         22
Appendix A – Stipulation re Plan treatment with PennyMac Loan
Services, LLC

Re Property:

         •   30 Pilarcitos Ct Hillsborough CA




Individual Chapter 11
Combined Plan & Disclosure Statement                               (Version: 7/30/12)
                                       -16-
Case: 15-31519
July 30,  2012   Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 16 of
                                         22
Exhibit 2 - What Creditors Would Receive if the Case Were
Converted to a Chapter 7

Real Property #1: 30 Pilarcitos, Hillsborough, Ca

  Fair Market          Liens            Cost of     Resulting      Amt of      Net Proceeds
     Value                               Sale       Income Tax    Exemption

  5,150,000.00   1st   PennyMac      $309,000.00   $515,000.00    $0           $2,507,000.00
                 $1,819,000.00


Real Property #2: 8108 Penobscot Lane, Mckinney Tx
  Fair Market          Liens            Cost of     Resulting      Amt of      Net Proceeds
     Value                               Sale       Income Tax    Exemption

  1,150,000.00   1st U.S Bank,       $69,000.00,    $115,000.00   $0           $614,000.00
                 N.A
                 $352,000.00


Real Property #3: 701 Braxton Ct, Mckinney Tx
  Fair Market          Liens            Cost of     Resulting      Amt of      Net Proceeds
     Value                               Sale       Income Tax    Exemption

  800,000.00     1stFlagstar         $48,000.00    $80,000.00     $0           $466,000.00
                 Bank
                 $206,000.00


Real Property #4: 305 St Andrews Dr, Pinehurst, NC
  Fair Market          Liens            Cost of     Resulting      Amt of      Net Proceeds
     Value                               Sale       Income Tax    Exemption

  460,000.00     1stFlagstar         $27,600.00     $46,000.00    $0           $296,400.00
                 Bank
                 $90,000.00


Real Property #5: 9 Maverick Place, Pinehurst, Nc
  Fair Market          Liens            Cost of     Resulting      Amt of      Net Proceeds
     Value                               Sale       Income Tax    Exemption

  390,000.00     1stFlagstar         $23,400.00     $39,000.00    $0           $246,600.00
                 Bank
                 $81,000.00




Individual Chapter 11
Combined Plan & Disclosure Statement                                     (Version: 7/30/12)
                                             -17-
Case: 15-31519
July 30,  2012   Doc# 407         Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 17 of
                                               22
Personal Property:
          Description           Liquidation        Secured      Amt of          Net
                                   Value            Claim      Exemption      Proceeds
Cash                             $20,000.00    0              $20,000.00          $0.00
Automobile #1-2004 Mazda           $2,800.00                   $2,800.00          $0.00
Automobile #2-2007 Cadillac        $7,341.00                   $7,341.00          $0.00
Household Furnishings              $1,500.00                   $1,500.00          $0.00
Clothes                            $1,000.00                   $1,000.00          $0.00
Jewelry                                 0.00                        0.00          $0.00
Equipment                               0.00                        0.00          $0.00
Accounts Receivable/Earned       $40,000.00                   $40,000.00          $0.00
Commission
Other Personal Property                                                           $0.00
TOTAL                                                                             $0.00


Net Proceeds of Real Property and Personal Property                        $4,130,000.00

Recovery from Preferences / Fraudulent Conveyances               [ADD]                 $0
Chapter 7 Administrative Claims                              [SUBTRACT]       $5,500.00
Chapter 11 Administrative Claims                             [SUBTRACT]      $70,000.00
Priority Claims                                              [SUBTRACT]                $0
Chapter 7 Trustee Fees                                       [SUBTRACT]       $5,000.00
Chapter 7 Trustee’s Professionals                            [SUBTRACT]       $5,000.00
NET FUNDS AVAILABLE FOR DISTRIBUTION TO UNSECURED CREDITORS                $4,044,500.00


Estimated Amount of Unsecured Claims                                       $1,162,953.30

Percent Distribution to Unsecured Creditors Under Proposed Plan                     100%
Percent Distribution to Unsecured Creditors Under Liquidation                       100%
Analysis



Exhibit 3 - Monthly Income and Expenses
  Income                                                                     Amount
  Gross Personal Income                                                    $1,743.00
  Total Family Contribution                                                $18,000.00


Individual Chapter 11
Combined Plan & Disclosure Statement                                  (Version: 7/30/12)
                                         -18-
Case: 15-31519
July 30,  2012    Doc# 407    Filed: 04/23/24 Entered: 04/23/24 14:22:18     Page 18 of
                                           22
  Rental Income                                                            $12,205.83

  Positive Cash Flow on Investment Property (Exhibit 5, Line A)            $1,671.79
  A. Total Monthly Income                                                  $33,620.62


  Expenses                                                       Amount
  Includes Plan Payments on Secured Claims for
  Residence and Car
  Rent                                                 $                         0.00
  Home Maintenance/Repair                              $                         0.00
  Electricity/Gas                                      $                      115.00
  Cell phone/Internet/Cable                            $                      150.00
  Food and Housekeeping                                $                      400.00
  Personal Care                                        $                      100.00
  Medical/Dental Expenses                              $                      200.00
  Transportation                                       $                      400.00
  Entertainment                                        $                         0.00
  Charitable Contributions                             $                       80.00
  Health Inurance                                      $                      450.00
  Vehicle Insurance                                    $                      260.00
  U.S Trustee Fees                                     $                       83.33
  Rental Expenses
  30 Pilarcitos, Hillsborough, Ca
  1st Lienholder                                       $                   10,232.43
  Property Insurance                                   $                      435.16
  Property Taxes                                       $                    1,659.97
  Maintenance                                          $                      100.00
  8108 Penobscot Lane, Mckinney Tx
  1st Lienholder                                       $                    3,919.96
  Property Insurance                                   $                   Impounded
  Property Taxes                                       $                   Impounded
  Maintenance (Property management)                    $                      551.20
  701 Braxton Ct, Mckinney Tx
  1st Lienholder                                       $                    3,236.29
  Property Insurance                                   $                   Impounded
  Property Taxes                                       $                   Impounded
  Maintenance (property Management)                    $                      395.00

  305 St Andrews Dr, Pinehurst, NC
  1st Lienholder                                       $                    1,084.53


Individual Chapter 11
Combined Plan & Disclosure Statement                                 (Version: 7/30/12)
                                         -19-
Case: 15-31519
July 30,  2012     Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 19 of
                                           22
  Property Insurance                                    $                  Impounded
  Property Taxes                                        $                  Impounded
  Maintenance (Property management)                     $                     239.45

  9 Maverick Place, Pinehurst, NC
  1st Lienholder                                        $                     935.49
  Property Insurance                                    $                  Impounded
  Property Taxes                                        $                  Impounded
  Maintenance (Property management)                     $                     172.13
  Total Monthly Expenses                                $                  25,189.93

  C. Disposable Income (Line A - Line B)                                   $8,430.69


  Plan Payments                                                            Amount
  Plan Payments Not Included in Calculating Disposable Income
  Administrative Claims                                                    $7,000.00

  Priority Claims

  General Unsecured Creditors (Allowed Claims)                               $992.83
  [OTHER PLAN PAYMENTS - DESCRIBE]
  D. Total Plan Payments                                                   $7,992.83


  E. Plan Feasibility (Line C - Line D)                                      $437.86
  (Not feasible if less than zero)




Individual Chapter 11
Combined Plan & Disclosure Statement                                 (Version: 7/30/12)
                                         -20-
Case: 15-31519
July 30,  2012     Doc# 407   Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 20 of
                                           22
Exhibit 4 - Effective Date Feasibility

Can the Debtor Make the Effective Day Payments?
                                                              Amount         Amount
  A. Projected Total Cash on Hand on Effective Date          $21,000.00

     Payments on Effective Date
       Unclassified Claims                                             0

       Administrative Expense Claims                          $7,000.00

       Priority Claims                                                 0

       Small Claims (Class 2(a))                                       0

       U.S. Trustee Fees                                        $250.00

  B. Total Payments on Effective Date                                        $7,250.00

  C. Net Cash on Effective Date (Line A - Line B)                           $13,750.00
  (Not feasible if less than zero)


The proposed plan has the following risks:

     Debtor has a pending adversary proceeding case at U.S.
Bankruptcy Court Northern District of California, captioned Salem
et al v. Chang Chao et al, No. 3:16-ap-03023 (the “AP Case”).

     In the case that the adverse party (Salem)succeeds with his
demand and his claim be allowed , the Debtor will sell three of
her out of State properties to pay the total allowed claim of
Salem.

      Debtor has two property managers who manage the Texas and
North Carolina properties. Debtor will also obtain a property
manager for the Pilarcitos property.




Individual Chapter 11
Combined Plan & Disclosure Statement                                (Version: 7/30/12)
                                        -21-
Case: 15-31519
July 30,  2012   Doc# 407    Filed: 04/23/24 Entered: 04/23/24 14:22:18    Page 21 of
                                          22
Exhibit 5 - Investment Property Analysis


Properties with Positive Monthly Cash-Flow:

Real Property #1 Income: [8108 Penobscot Lane, Mckinney Tx]
    Rental        Mortgage              Insurance     Property      Other       Net Income
    Income                                             Taxes       Expenses

   $5,512.00     1st $3,919.96         $Impounded    $Impounded      $551.20     $1,040.84


Real Property #2 Income: [305 St Andrews Dr, Pinehurst, NC]
    Rental        Mortgage              Insurance     Property      Other       Net Income
    Income                                             Taxes       Expenses

   $1,596.33     1st    $1,084.53      $ Impounded   $ Impounded     $239.45       $272.35


Real Property #3 Income: [9 Maverick Place, Pinehurst, NC]
    Rental        Mortgage              Insurance     Property      Other       Net Income
    Income                                             Taxes       Expenses

   $1,147.50           1st   $935.49   $ Impounded   $ Impounded     $172.13         $39.89

Real Property #4 Income: [701 Braxton Ct, Mckinney Tx]
    Rental        Mortgage              Insurance     Property      Other       Net Income
    Income                                             Taxes       Expenses

    $3,950.00    1st$3,236.29          $ Impounded   $Impounded      $395.00       $318.71


  A. Total Positive Cash Flow                                                   $1,671.79



Properties with Negative Monthly Cash-Flow:

    Rental        Mortgage              Insurance     Property      Other       Net Income
    Income                                             Taxes       Expenses




  B. Total Negative Cash Flow




Individual Chapter 11
Combined Plan & Disclosure Statement                                      (Version: 7/30/12)
                                              -22-
Case: 15-31519
July 30,  2012   Doc# 407          Filed: 04/23/24 Entered: 04/23/24 14:22:18   Page 22 of
                                                22
